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11

12                                 UNITED STATES DISTRICT COURT

13                                NORTHERN DISTRICT OF CALIFORNIA

14                                    SAN FRANCISCO DIVISION

15   IN RE RESISTORS ANTITRUST                       Case No. 3:15-cv-03820-JD
     LITIGATION
16
                                                     REVISED JOINT DISCOVERY PLAN
17   This Documents Relates to:                      PURSUANT TO RULE 26(f)
18   DIRECT PURCHASER ACTIONS
19

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                                                                REVISED JOINT DISCOVERY PLAN
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 1            Direct Purchaser Plaintiffs (“DPPs”) and Walsin Technology Corporation (“WTC”) and

 2   Walsin Technology Corporation (“Walsin USA”) respectfully submit this Revised Joint Discovery

 3   Plan pursuant to Rule 26(f)(2)-(3) of the Federal Rules of Civil Procedure. For the purposes of this

 4   Joint Discovery Plan Pursuant to Rule 26(f), WTC and Walsin USA are referred to collectively as

 5   the “Walsin Defendants” or “Walsin.”

 6                                         I.      DISCOVERY PLAN
 7   A.       Schedule
 8            1.      Agreed Schedule
 9            DPPs and Walsin Defendants have agreed to the following dates:

10                                     Event                                           Date
11

12        Initial disclosures with Walsin USA exchanged                      December 26, 2017
13                                                                           (completed)

14        Initial disclosures with WTC exchanged                             January 12, 2018
                                                                             (completed)
15
          Walsin USA produces organizational charts, if any                  January 12, 2018
16
                                                                             (completed)
17
          Walsin USA’s Responses to DPPs’ First Set of Requests for          January 16, 2018
18        Production of Documents to Walsin Defendants, and Walsin
                                                                             (completed)
          USA’s Responses to DPPs’ First Set of Interrogatories to Walsin
19        Defendants

20        WTC’s Responses to DPPs’ First Set of Requests for Production      January 26, 2018
          of Documents to Walsin Defendants, and WTC’s Responses to
21        DPPs’ First Set of Interrogatories to Walsin Defendants

22        WTC produces organizational charts, if any                         January 26, 2018

23        DPPs propose Walsin Defendants’ document production                February 1, 2018
          custodians
24                                                                           by 4:00 PM PST

25        Walsin Defendants respond to DPPs’ custodian proposal              February 5, 2018

26        Parties complete Walsin Defendants custodian negotiations          February 9, 2018

27        Parties submit any disputes regarding document custodians to the   February 13, 2018
          Court
28
                                                                             REVISED JOINT DISCOVERY PLAN
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 1                                      Event                                           Date
 2

 3        Walsin Defendants complete production of transactional data         February 16, 2018
 4        Walsin Defendants complete productions from “centralized” files     February 22, 2018
 5        Walsin Defendants begin rolling productions from custodians         February 26, 2018 (for
                                                                              Walsin USA)
 6
                                                                              March 12, 2018 (for
 7                                                                            WTC)

 8        Parties complete negotiations regarding search terms                March 1, 2018

 9        Parties submit any disputes regarding search terms to the Court     March 7, 2018

10        Walsin Defendants complete production for 2 priority document       March 30, 2018
          custodians. This is without prejudice to the Walsin Defendants
11        right to argue that there should be fewer than two custodians, in
          total.
12
          Walsin Defendants complete rolling productions from custodians      March 23, 2018 (for
13                                                                            Walsin USA)

14                                                                            April 20, 2018 (for
                                                                              WTC)
15
          Walsin Defendants produce privilege logs from custodians            April 6, 2018 (for
16                                                                            Walsin USA)
                                                                              April 27, 2018 (for
17                                                                            WTC)
18

19   B.       Discovery Limitations

20            DPPs and Walsin Defendants agree that the following stipulated discovery orders shall apply

21   to Walsin Defendants:

22            1.      Stipulated Protective Order (ECF Nos. 121, 122);

23            2.      Stipulated Order Concerning Expert Discovery (ECF Nos. 213, 215);

24            3.      Order re Stipulation Regarding Production of Electronically Stored Information and

25                    Hard Copy Documents (ECF Nos. 249, 252); and

26            4.      Stipulation and Order re: Discovery Limits Pursuant to Fed. R. Civ. P. 26(f) (the

27                    “Discovery Limits Stipulation”) (ECF Nos. 307, 308), as modified to include the

28                    Walsin Defendants in the definition of “Kamaya defendant family” for purposes of
                                                                              REVISED JOINT DISCOVERY PLAN
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 1                  this Discovery Limits Stipulation only. As a point of clarity, DPPs may serve the

 2                  same 35 non-duplicative interrogatories on the Walsin Defendants that they serve on

 3                  the Kamaya Defendants, and the Walsin Defendants and Kamaya Defendants will

 4                  answer those interrogatories independently. Additionally, DPPs do not need to serve

 5                  the same interrogatories on the Walsin Defendants and the Kamaya Defendants at the

 6                  same time. DPPs reserve the right to ask the Court for additional interrogatories,

 7                  depositions, or deposition time should further discovery show that it is necessary.

 8          DPPs and Walsin Defendants will present a stipulated order to the Court so that the Walsin

 9   Defendants are included in these orders as soon as possible.

10   DATED: January 25, 2018                      LATHAM & WATKINS LLP

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21   DATED: January 25, 2018                      HAGENS BERMAN SOBOL SHAPIRO LLP

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15                                             Co-Lead Counsel for Direct Purchaser Plaintiffs

16
                                            ATTESTATION
17

18         Pursuant to N.D. Cal. L.R. 5-1(i)(3), the filer attests that concurrence in filing of this
     document has been obtained from the above signatories.
19

20   DATED: January 25, 2018                   LATHAM & WATKINS LLP

21                                             By /s/ Ashley M. Bauer                    _
                                                         ASHLEY M. BAUER
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